Case 1:21-cr-20173-RNS Document 37 Entered on FLSD Docket 01/10/2022 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 21-20173-CR-SCOLA

UNITED STATES OF AMERICA,

vs.

TYRESE COOPER,

      Defendant.
_______________________________________/

                                    NOTICE ON FORFEITURE
       The United States of America (the “United States”), by and through the undersigned Assistant

United States Attorney, hereby files this Notice on Forfeiture.

       On January 7, 2022, the Court entered a Judgment against the defendant, ECF No. 36,

directing the United States to submit a proposed Order of Forfeiture within three days of sentencing.

The United States is not pursuing federal judicial forfeiture at this time.

                                               Respectfully Submitted,

                                               JUAN ANTONIO GONZALEZ
                                               UNITED STATES ATTORNEY

                                       By:     WILLIAM T. ZLOCH
                                               WILLIAM T. ZLOCH
                                               ASSISTANT UNITED STATES ATTORNEY
                                               Florida Bar No. 0105619
                                               United States Attorney’s Office
                                               500 S. Australian Ave. Suite 400
                                               West Palm Beach, FL 33401
                                               Telephone: (561) 820-8711
                                               Facsimile: (561) 820-8777
                                               Email: William.zloch@usdoj.gov
